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                             UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

IN RE:                                                      §
                                                            §
PAYSON PETROLEUM 3 WELL, L.P.,                              §              Case No. 17-40179
                                                            §              Chapter 7
                                                            §
                                                            §
         DEBTOR.                                            §


JASON R. SEARCY, CHAPTER 11                                 §
TRUSTEE FOR PAYSON                                          §
PETROLEUM, INC.,                                            §
                                                            §
      Plaintiff,                                            §
                                                            §
vs.                                                         §              Adversary No. 18-04074
                                                            §
ACME ENERGY COMPANY, LLC,                                   §
ET AL.,                                                     §
                                                            §
      Defendants.                                           §

         __________________________________________________________________

 JOINT RESPONSE IN OPPOSITION TO MOTION OF VARIOUS DEFENDANTS TO
                       WITHDRAW THE REFERENCE
                          AND BRIEF IN SUPPORT
     __________________________________________________________________
                           [Relates to Docket No. 6]
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      RESPONSE TO WITHDRAW THE REFERENCE AND BRIEF IN SUPPORT

TO THE HONORABLE BRENDA RHOADES, U. S. BANKRUPTCY JUDGE:

       COME NOW Jason R. Searcy, Chapter 7 Trustee for Payson Petroleum, Inc in

substantively consolidated Bankruptcy Case No. 16-41044 (the “Payson Trustee”) and Christopher

J. Moser, Chapter 7 Trustee for Payson Petroleum 3 Well, L.P. in Bankruptcy Case No. 17-40179

and Payson Petroleum 3 Well 2014, L.P. in Bankruptcy Case No. 17-40180 (the “LP Trustee”) to

file their Joint Response to Motion of Various Defendants to Withdraw the Reference and Brief in

Support, and respectfully show unto the Court the following:

                                                        I.
                                                     Summary

       1.      There is no right to a jury trial in this adversary proceeding and no grounds upon

which to withdraw the reference. Payson Trustee has brought claims under 11 U.S.C. § 723(a)

against the general partners of the debtor to satisfy the deficiency. The winding up of partnerships

and bills for the administration of partnership assets are equitable actions. As such, there is no

jury right. Further, 28 U.S.C. §§ 157(b)(2)(A), (E) & (O) makes clear that the Payson Trustee’s

claims are core claims and the Bankruptcy Court has constitutional authority to enter final

judgments in this matter because the claims stem from the bankruptcy itself.                            Even if the

Bankruptcy Court does not have constitutional authority to enter final orders in this matter, the

Supreme Court’s opinion in Exec. Bens. Ins. Agency v. Arkinson, 134 S. Ct. 2165 (2014)

establishes that the Bankruptcy Court may hear this matter and issue proposed findings of fact and

conclusions of law for de novo review by the District Court.




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                                                        II.
                                                 Background Facts

       2.      Payson Debtors File Bankruptcy. On June 10, 2016, Payson Petroleum, Inc.

(“PPI”), Payson Operating, LLC (“PO”), and Maricopa Resources, LLC (“Maricopa” and

collectively with PPI and PO the “Payson Debtors”) filed voluntary petitions under Chapter 7 of

the United States Bankruptcy Code (the “Bankruptcy Code”). See Docket No. 1 in Case Nos. 16-

41043, 16-40144, and 16-40145. On July 12, 2016, the Court entered orders converting these

bankruptcy cases to cases under Chapter 11 of the United States Bankruptcy Code. See Docket

No. 39 in Case No. 16-41043; Docket No. 33 in Case No. 16-41044; and Docket No. 41 in Case

No. 16-41045. On July 18, 2016, the Court entered orders approving the United States Trustee’s

applications to appoint the Payson Trustee as Chapter 11 Trustee in these bankruptcy cases. See

Docket No. 55 in Case No. 16-41043; Docket No. 50 in Case No. 16-41044; and Docket No. 57

in Case No. 16-41045. On August 11, 2016, the Court ordered the joint administration of these

debtors’ bankruptcy cases under Case No. 16-41044. See Docket No. 75 in Case No. 16-41043;

Docket No. 73 in Case No. 16-41044; and Docket No. 81 in Case No. 16-41045.

       3.      LP Adversary Proceeding. On November 1, 2016, the Payson Trustee filed his

Complaint to Avoid and Recover Transfers Pursuant to 11 U.S.C. §§ 548, 547, and 550 (the

“Original Complaint”) in Adversary Proceeding No. 16-04106 (the “LP Adversary Proceeding”)

against Payson Petroleum 3 Well, LP (“3 Well LP”) and Payson Petroleum 3 Well 2014, LP (“2014

LP”) to recover certain oil and gas interests transferred from Maricopa to 3 Well LP and 2014 LP

during the 90-day preference period. See Docket No. 1 in Adv. Proceeding 16-04106.

       4.      Answer to LP Adversary. On December 19, 2016, 3 Well LP and 2014 LP

answered the Original Complaint. See Docket No. 17 in Adversary Proceeding. 3 Well LP and




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2014 LP were represented by attorney Daniel P. Winnika from the law firm of Loewinsohn Flegle

Deary Simon, LLP. See id. at p. 10.

       5.      LP Debtors File Bankruptcy. On January 31, 2017, 3 Well LP and 2014 LP

(collectively the “LP Debtors”) filed voluntary petitions under Chapter 7 of the Bankruptcy Code.

See Docket No. 1 in Case No. 17-40179 and Docket No. 1 in Case No. 17-40180. Jeff Cohen

signed each of the voluntary petitions as “Managing Member of 3 Well MGP, LLC, managing

general partner of debtor.” See Docket No. 1 in Case No. 17-40179 at p. 4 and Docket No. 1 in

Case No. 17-40180 at p. 4. Mr. Winnika represented the LP Debtors in connection with their

bankruptcy filings. See id. Each of the Movants was served with 3 Well LP’s bankruptcy petition.

See Movant Chart, attached as Exhibit A. LP Trustee was appointed as Chapter 7 Trustee for the

LP Debtors.

       6.      Joint 9019 Motions Filed & Served. On September 21, 2017, the Trustees filed

their Joint 9019 Motions. See id. The Trustees served the Joint 9019 Motions and all exhibits

thereto in accordance with the Certificates of Service attached to the Joint 9019 Motions. Each

Movant was served with the Joint 9019 Motion in the 3 Well LP bankruptcy case (and the exhibits

thereto). See Ex. 1.

       7.      Partner Objections to Joint 9019 Motions. Prior to the hearing on the Trustees’

Joint 9019 Motions, 104 objections were filed in Case No. 16-41044 by partners in the LP Debtors.

See Docket Nos. 156-164, 166-214, 216-240, 242-245, 247, 249, 250, 252-264, and 271 in Case

No. 16-41044 (the “Partner Objections”). At least 12 Movants filed objections to the Trustees’

Joint 9019 Motions, and seven Movants filed proofs of claim in Case No. 16-41044. See Ex. A.

       8.      Contested Hearing on Joint 9019 Motions. On October 25, 2017, the Court held a

contested hearing regarding the Joint 9019 Motions. During the contested hearing, the Court heard



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argument from attorneys for the Trustees, the attorney for JMW Recovery, LLC, and several

objecting partners. The Trustees provided testimony under both direct and cross examination. Mr.

Searcy was cross-examined by Mr. Reed, the attorney for JMW Recovery, LLC, and four objecting

partners. The Court allowed closing argument from the attorneys for the Trustees, Mr. Reed, and

three objecting partners. At the end of the contested hearing, the Court issued its ruling and

approved the Joint 9019 Motions.

       9.      9019 Orders. On October 27, 2017, the Court entered the Agreed Orders Granting

Joint Motion to Approve Compromise and Settlement Pursuant to Bankruptcy Rule 9019. See (i)

Docket No. 37 in Case No. 17-40179; (ii) Docket No. 34 in Case No. 17-40180; and (iii) Docket

No. 265 in Case No. 16-41044. The 9019 Orders granted, inter alia, the Payson Trustee derivative

standing to pursue the Section 723(a) claim asserted in this adversary proceeding.

       10.     Deficiencies Determined. On August 28, 2018, the LP Trustee informed the Payson

Trustee that after distributing all current estate assets he expected deficiencies of (i) $2,671,900.50

in the 3 Well LP case and (ii) $8,557,888.50 in the 2014 LP case.

       11.     General Partner Adversary Proceedings Filed. Pursuant to the derivative standing

granted to him under the 9019 Orders, the Payson Trustee, on September 12, 2018, filed (i)

Adversary Proceeding No. 18-04074, which asserts a claim under 11 U.S.C. § 723 against general

partners of 3 Well LP to recover the deficiency in this adversary proceeding (the “Section 723

Claim”), and (ii) Adversary Proceeding No. 18-04076, which asserts a claim under 11 U.S.C. §

723 against general partners of 2014 LP to recover the deficiency in that case. See Docket No. 1

in Adversary Proceeding Nos. 18-04074 & 18-04076.




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       12.     Motion to Withdraw the Reference. On October 24, 2018, the Movants filed their

Motion of Various Defendants to Withdraw the Reference requesting that District Court withdraw

the reference with respect to this adversary proceeding.

       13.     Motions to Reconsider 9019 Orders. Movants also filed Motions to Reconsider

Previous Settlement Order (i.e. the 9019 Orders) in the PPI, 3 Well LP, and 2014 LP bankruptcy

cases and their Motion of Various Defendants to Dismiss and Brief in Support in this adversary

proceeding. See (i) Docket No. 674 in Case No. 16-41044; (ii) Docket No. 88 in Case No. 17-

40179; (iii) Docket No. 82 in Case No. 17-40180; and (iv) Docket No. 7 in Adv. Pro. 18-04074.

                                           III.
                                ARGUMENTS AND AUTHORITIES

   A. The Payson Trustee’s Claims are Equitable and There is no Right to a Jury Trial

       14.     Movants have no right to a jury trial on the Payson Trustee’s claims under 11 U.S.C.

§ 723(a) to recover the estate’s deficiency from the Debtor’s general partners. First, no jury

demand has been made in this adversary proceeding. However, even if a proper jury demand is

made, the defendants, including the Movants, have no right to jury trial because the Payson

Trustee’s claims are equitable.

       15.     The Seventh Amendment provides, “[i]n Suits at common law, where the value in

controversy shall exceed twenty dollars, the right of trial by jury shall be preserved….” U.S.

CONST. AMEND. VII. The Supreme Court has interpreted the Seventh Amendment’s phrase “Suits

at common law” “to refer to ‘suits in which legal rights were to be ascertained and determined, in

contradistinction to those where equitable rights alone were recognized, and equitable remedies

were administered.’” Granfinanciera S.A. v. Nordberg, 492 U.S. 33, 41 (1989). There is a two-

part analysis of whether a suit is a “Suit at common law”:




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        First, we compare the statutory action to 18th-century actions brought in the courts
        of law and equity. Second, we examine the remedy sought and determine whether
        it is legal or equitable in nature. The second stage of this analysis is more important
        than the first. If, on balance, these two factors indicate that a party is entitled to a
        jury trial under the Seventh Amendment, we must decide whether Congress may
        assign and has assigned resolution of the relevant claim to a non-Article III
        adjudicative body that does not use a jury as factfinder.

Id. at 42.

        16.     Multiple courts have held that Section 723(a) claims are equitable in nature and

there is no constitutional right to a jury trial. In Liebman v. Brown (In re Bonded Jewelry Ctr.)

206 B.R. 381 (Bankr. D. Md 1997), the trustee filed a complaint seeking to hold the defendant

responsible for the partnership deficiency in excess of $5,000,000.00 under Section 723(a) of the

Bankruptcy Code. 206 B.R. 381, 383 (Bankr. D. Mary. 1997). The defendant’s jury demand was

denied with the court reasoning:

        Historically, the Court of Chancery, an equity court, presided over the winding up
        of partnerships and bills for the administration of partnership assets. McGraw v.
        Betz (In re Bell & Beckwith), 112 Bankr. 863, 867 (Bankr. N.D. Ohio 1990)(citing
        G. Spence, The Equitable Jurisdiction of the Court of Chancery Ch. 21, § 2 at 665-
        66 (1846) and G. Bispham, The Principles of Equity: A Treatise on the System of
        Justice Administered in the Courts of Chancery Part III, Ch. 5, § 505 at 555 – 56
        (4th ed. 1887)). In addition, when a partnership’s assets were insufficient to pay
        all of its creditors, a creditor’s bill against the partners was an equitable action filed
        in the Court of Chancery. Bell & Beckwith, 112 Bankr. at 867 (citing G. Bispham,
        The Principles of Equity Part III, Ch. 5, §§ 520 – 22 at 568 – 70).

        Modern courts have consistently held that allowance or disallowance of a claim in
        a bankruptcy falls within the broad equitable powers of a bankruptcy court.
        [citations omitted].

        This Court concludes that the determination of liability of a general partner to the
        bankruptcy trustee for the deficiency of a debtor partnership under Section 723(a)
        is a core proceeding subject to the equitable powers of the bankruptcy court because
        the deficiency is based upon the allowance or disallowance of claims against the
        estate. [citations omitted]

Id. at 386.




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       17.      Other courts addressing this very same issue have held likewise. See In re Bell &

Beckwith, 112 B.R. 863, 867 (Bankr. N.D. Ohio 1990) (jury demand denied for same reasons stated

in Bonded Jewelry Ctr.); Miller v. Spitz (In re CS Assocs.), 160 B.R. 899, 902 (Bankr. E.D. Penn.

1993) (court denied jury demand in Section 723(a) action “since the instant proceeding was

equitable in nature, the Partners had no right to a trial by jury therein.”); Tatge v. Chandler (In re

Judiciary Tower Assocs.), 170 B.R. 8, 10 (Bankr. D.C. 1994) (following Bell & Beckwith, court

denied a general partner’s jury demand).

       18.      Only one case has held to the contrary. See In re Owensboro Distilling Co., 108

B.R. 572, 574 (Bankr. W.D. Ken. 1989).                  The Owensboro Distilling court, however, did not

compare the Section 723(a) action with statutory actions brought in the courts of England prior to

the merger of the courts of law and equity as mandated by Granfinanciera. Instead, without

reference to any authority, the Owensboro Distilling court simply declares the action a contract

action. Id. Also, every case after Owensboro Distilling that decided the very same issue refused

to follow Owensboro Distilling’s holding. See Bell & Beckwith, 112 B.R. at 867 (citing treatises

on equitable jurisdiction and courts of chancery found that partnership dissolution proceedings and

creditor’s bills are equity proceedings without rights to jury trials); CS Assocs., 160 B.R. at 902

(cites both Bell & Beckwith and Owensboro Distilling but follows the holding in Bell & Beckwith);

Judiciary Tower Assocs., 170 B.R. at 10 (cites to and follows the reasoning in Bell & Beckwith);

Bonded Jewelry Ctr., 206 B.R. at 383 (cites both Bell & Beckwith and Owensboro Distilling but

follows the holding in Bell & Beckwith).

       19.      Here the Payson Trustee’s claims are analogous to the equitable action filed by a

creditor against the partners of an insolvent partnership. See Bell & Beckwith, 112 B.R. at 867;

CS Assocs., 160 B.R. at 902; Bonded Jewelry Ctr., 206 B.R. at 383. Thus, the claims are equitable



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in nature, triable in the Courts of Chancery, and the Movants have no right to a jury trial in this

matter.

   B. Payson Trustee’s Claims Are Core Claims and the Bankruptcy Court Has
      Constitutional Authority to Enter a Final Judgment

          20.      While the Movants state that the Payson Trustee’s claims are non-core, the

Movants’ actual argument is the Bankruptcy Court does not have constitutional authority to enter

a final judgment in this matter. Regardless, the Movants are wrong on both accounts.

          21.      “Bankruptcy judges may hear and determine all cases under title 11 and all core

proceedings arising under title 11, or arising in a case under title 11…and may enter appropriate

orders and judgments.” 28 U.S.C. § 157(b)(1). “For a proceeding to be a core proceeding, it must

arise under title 11 or arise in a case under title 11.” Hoffman v. Ramirez (In re Astroline Communs.

Co. Ltd. Pshp.), 161 B.R. 874, 878 (Bankr. D. Conn. 1993). “Congress used the phrase ‘arising

under title 11’ to describe those proceedings that involve a cause of action created or determined

by a statutory provision of title 11.” Wood v. Wood (In re Wood), 825 F.2d 90, 96 (5th Cir. 1987).

A proceeding “aris[ing] in” “reference[s] those ‘administrative’ matters that arise only in a

bankruptcy case.” Id. at 97 (emphasis in original).

          22.      As held in Astroline Communs. and numerous other opinions, causes of action

under Section 723(a) are core proceedings because they “arise under title 11.” 161 B.R. 874

(Bankr. D. Conn. 1993). “Each bankruptcy court ruling…that deals with § 723(a) matters has

either explicitly or inferentially, but without extended discussion, found such matters to constitute

core proceedings.” Astroline Commns., 161 B.R. at 878 (citing Marshack v. Mesa Valley Farms

L.P. (In re The Ridge II), 158 B.R. 1016, 1019 (Bankr. C.D. Cal. 1993); Kipperman v. Yousif (In

re Miramar Mall Limited Partnership), 152 B.R. 631, 632 (Bankr. S.D. Cal. 1993); McGraw v.

Betz (In re Bell & Beckwith), 112 B.R. 863, 868 (Bankr. N.D. Ohio 1990); Wilkey v. Inter-Trade,

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Inc. (In re Owensboro Distilling Co.), 108 B.R. 572, 574 (Bankr. W.D. Ky. 1989); and Miller v.

Spitz (In re CS Assocs.), 156 B.R. 755(Bankr. E.D. Pa. 1993)). The Astroline Communs. court

specifically held that:

          I conclude that the present matter is a core proceeding because it arises under the
          Bankruptcy Code. Congress has in § 723 created a federal cause of action for a
          chapter 7 trustee to compel contributions from general partners of insolvent
          partnership estates.

Id. at 878 – 79. “The fact that it is necessary to refer to state law in litigating under § 723 is not

determinative on the core issue.” Id. at 879 (citing 28 U.S.C. § 157(b)(3)(“A determination that a

proceeding is not a core proceeding shall not be made solely on the basis that its resolution may

be affected by State law.”)). “Proceedings whose basis lies within the Code may be considered

core proceedings under the Marathon rationale because ‘when Congress creates a substantive

federal right, it possesses substantial discretion to prescribe the manner in which that right may be

adjudicated—including the assignment to an adjunct of some functions historically performed by

[Article III] judges.’” Id. (quoting Northern Pipeline Costr. Co. v. Marathon Pipe Line Co., 458

U.S. 50, 80 (1982)).

          23.      The Payson Trustee’s claims in this matter only exist because of the substantive

federal right Congress created in favor of bankruptcy trustees with Section 723(a). Without

Section 723(a), there would be no federal cause of action by which a bankruptcy trustee could

compel contributions from general partners. In addition, the Payson Trustee’s Section 723(a)

claims fall within the list of “core claims” in 28 U.S.C. § 157(b)(2). See 28 U.S.C. §§ 157(b)(2)

(A), (E) & (O). As such, the Bankruptcy Court has statutory authority to hear and determine this

matter.




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          24.      The Movants’ actual argument is that the Bankruptcy Court does not have

constitutional authority to enter final orders in this matter. The Movants’ contention is still

incorrect.

          25.      In Stern v. Marshall, the Supreme Court held that the bankruptcy court had statutory

authority under 28 U.S.C. § 157(b)(2)(C) to hear and decide counterclaims by the estate against

creditors that have filed proof of claims. 564 U.S. 462, 482 (2011). However, the Supreme Court

further held that such statutory authority was unconstitutional because it violated Article III of the

Constitution. Id. Here, the concerns raised by the Supreme Court in Stern are not present because

the Payson Trustee’s claim, as discussed above, is one of equity and stems from the bankruptcy

itself.

          26.      When determining whether Congress has permissibly provided a non-Article III

court with jurisdiction over a matter “the question is whether the action at issue stems from the

bankruptcy itself or would necessarily be resolved in the claims allowance process.” Stern at 499

(emphasis added). Here, the action stems from the bankruptcy itself. The deficiency at issue arose

because of the claims made against the Debtor’s bankruptcy estate and, thus, upon the bankruptcy

res, exceeded the value of the Debtor’s assets. In addition, the Payson Trustee’s claims could only

arise in a bankruptcy case. Without Section 723(a), a bankruptcy trustee would have no state law

rights to pursue deficiency claims against general partners. It is Section 723(a) that created a

federal cause of action for a chapter 7 trustee to reach the assets of general partners to satisfy the

deficiency. See Astroline Commns., 161 B.R. at 878 – 89. A claim under Section 723(a) stems

from the bankruptcy itself and arises under title 11. As such, this Court has constitutional authority

to enter final orders in this matter.




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   C. Even If Constitutional Authority to Enter Final Orders Does Not Exist, There Is Still
      No Reason to Withdraw the Reference

       27.      Even if the Bankruptcy Court does not have constitutional authority to enter final

orders, the Bankruptcy Court can still hear this matter and submit proposed findings of fact and

conclusions of law for the District Court to review de novo. Such was the holding in the Supreme

Court’s opinion in Exec. Bens. Ins. Agency v. Arkinson, 134 S. Ct. 2165 (2014).

       In Stern v. Marshall,…this Court held that even though bankruptcy courts are
       statutorily authorized to enter final judgment on a class of bankruptcy-related
       claims, Article III of the Constitution prohibits bankruptcy courts from finally
       adjudicating certain of those claims. Stern did not, however, decide how
       bankruptcy or district courts should proceed when a “Stern claim” is identified. We
       hold today that when, under Stern’s reasoning, the Constitution does not permit a
       bankruptcy court to enter final judgment on a bankruptcy-related claim the relevant
       statute nevertheless permits a bankruptcy court to issue proposed findings of fact
       and conclusions of law to be reviewed de novo by the district court.

Id. at 2168.

       28.      If the so-called “Stern claim” “satisfies the criteria of § 157(c)(1), the bankruptcy

court simply treats the claims as non-core: The bankruptcy court should hear the proceeding and

submit proposed findings of fact and conclusions of law to the district court…” Id. at 2173. Thus,

a “Stern claim” can be heard by a bankruptcy judge if it is “otherwise related to a case under title

11.” 28 U.S.C. § 157(c)(1); see also Arkinson, 134 S. Ct. at 2174. “Proceedings ‘related to’ the

bankruptcy include (1) causes of action owned by the debtor which become property of the estate

pursuant to 11 U.S.C. § 541, and (2) suits between third parties which have an effect on the

bankruptcy estate.” Celotex Corp. v. Edwards, 514 U.S. 300, 307, n. 5 (1995).

       29.      Clearly, the Payson Trustee’s claims are related to a case under title 11. First,

Payson Trustee’s claims is derived from the Bankruptcy Code itself and would not exist except

within the contexts of title 11. Second, the Payson Trustee’s claims, if successful, would require

the Movants and other defendants to fully satisfy the deficiencies of the Debtor’s insolvent

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bankruptcy estate. Even if the Bankruptcy Court does not have constitutional authority to enter a

final judgment, the Bankruptcy Court can still hear this matter and submit proposed findings of

fact and conclusions of law to the District Court. Withdrawal of the reference is not necessary

under such circumstances.

   D. Movants Have Waived Any Right to a Jury Trial and Consented to the Bankruptcy
      Court’s Jurisdiction

       30.      The Movants have consented to the Bankruptcy Court’s jurisdiction by objecting

to the Rule 9019 Motion and seeking affirmative relief through their motion for reconsideration of

the Rule 9019 Motion. Under each circumstance, the Movants have knowingly and voluntarily

participated in the claims allowance and disallowance process.

       31.      “Article III is not violated when the parties knowingly and voluntarily consent to

adjudication by a bankruptcy judge.” Wellness Int’l Network Ltd. v. Sharif, 135 S. Ct. 1932 (2015).

       32.      At least twelve (12) Movants sought affirmative relief from the Bankruptcy Court

when they objected to the Rule 9019 motion which, inter alia, set the allowed amount of Payson

Trustee’s claim against the Debtor’s estate. See Ex. 1; Katchen v. Landy, 382 U.S. 323 (1966) (By

invoking the claims allowance process, preference defendant had consented to the Bankruptcy

Court’s jurisdiction). Now, all of the Movants have sought affirmative from the Bankruptcy Court

by moving to have the Rule 9019 motion reconsidered. See Docket No. 88 in Case No. 17-40179.

Movants have inserted themselves in the claims allowance and disallowance process, which

directly relates to the amount of the deficiency of the Debtor’s estate.

   E. Cause Does Not Exist for Withdrawal of the Reference

       33.      Finally, cause does not exist for withdrawing the reference.

       34.      In Holland America Ins. Co. v. Succession of Roy, the Fifth Circuit provided seven

(7) factors that the district courts should use to decide “cause” for permissive withdrawal of the

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reference. 777 F.2d 992, 999 (5th Cir. 1985). These factors include: (1) whether the underlying

claims are core or non-core proceedings; (2) considerations of judicial economy; (3) promoting

uniformity in bankruptcy administration; (4) reducing forum shopping and confusion; (5) fostering

the economical use of the debtors’ and creditors’ resources; (6) expediting the bankruptcy process;

and (7) whether there is a legitimate jury demand. None of these factors favor withdrawal.

        35.     Core Proceeding. First, as discussed above, this is a core proceeding because the

Payson Trustee’s claims arise under title 11 and fall within subsections (A), (E) and (O) of 11

U.S.C. § 157(b)(2).

        36.     No Right to Jury Trial. First, there is no jury demand. The Movants only argue

that they are entitled to a jury but none of the Movants have made a jury demand. As such, the

factor concerning whether there is a legitimate jury demand does not favor withdrawal. Even if

the Movants made a proper jury demand, for the reasons stated above, the defendants do not have

a right to jury trial in this matter and this factor still favors maintaining the reference.

        37.     Forum Shopping. This is a classic example of forum shopping. Movants are

requesting the reference be withdrawn to remove this matter from the Bankruptcy Court that has

unquestionable familiarity with these bankruptcy cases. Since this adversary proceeding is a core

proceeding and there is no right to a jury trial, the only conclusion that can be drawn is that

Movants are forum shopping.

        38.     Withdrawal Will Not Promote Uniformity, Result in Economical Use of the Parties’

Resources, or Expedite the Bankruptcy Process. Contrary to Movant’s arguments, denying

withdrawal of the reference at this time will not result in inefficiency and increased expense to the

estate. The various bankruptcy cases have been pending before this Court for more than a year.

In that time, the Bankruptcy Court has become familiar with the financial affairs and transactions



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of the various debtors. Moreover, the Court already entered an order permitting the Payson Trustee

to settle his Section 723 Claim against the defendants in this adversary proceeding without the

need to proceed under process established by Rule 9019(a), and the Trustee is fully engaged in the

settlement process having already settled with certain general partners. Furthermore, there is no

evidence supporting or logical reasoning behind Movants’ argument that the District Court would

handle these proceedings more efficiently than the District Court. As explained above, this Court

can enter final judgments in this case. Even if it could not, however, this Court can still hear this

matter and submit proposed findings of fact and conclusions of law for the District Court’s review.

        39.     Unlike in Stern, the claims asserted in this adversary proceeding are statutorily

“core” claims, arising under title 11 and over which the Bankruptcy Court has constitutional

authority to enter final judgments. 1 Thus, these factors militate against withdrawal.

                                                     PRAYER

        WHEREFORE, PREMISES CONSIDERED, Payson Trustee respectfully requests that the

Court deny the Various Defendants Motion to Withdraw the Reference and grant Payson Trustee

such other relief to which Payson Trustee shows himself justly entitled to receive.




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    In the alternative, Plaintiff contends that the Bankruptcy Court has the authority to hear these matters and
    submit proposed findings of fact and conclusions of law to the District Court. Regardless, the Bankruptcy
    Court will hear this matter under both circumstances.

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Dated: November 15, 2018                                    Respectfully submitted,

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                                           CERTIFICATE OF SERVICE

       The undersigned certifies that on November 15, 2018, a true and correct copy of this the
foregoing Joint Response in Opposition to Motion of Various Defendants to Withdraw the
Reference and Brief in Support was served via the Court’s electronic case filing system and via
email upon all counsel of record as indicated below.

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